              Case 3:23-cv-01865-JSC Document 43 Filed 07/05/23 Page 1 of 3




     STEPHANIE KRENT (Pro Hac Vice)
 1   ALEX ABDO (Pro Hac Vice motion forthcoming)
 2   KNIGHT FIRST AMENDMENT INSTITUTE AT COLUMBIA UNIVERSITY
     475 Riverside Drive, Suite 302
 3   New York, NY 10115
     Tel.: (646) 745-8500
 4   Email: stephanie.krent@knightcolumbia.org
 5
     CARA GAGLIANO (SBN 308639)
 6   AARON MACKEY (SBN 286647)
     ELECTRONIC FRONTIER FOUNDATION
 7   815 Eddy Street
 8   San Francisco, CA 94109
     Tel.: (415) 436-9333
 9   Email: cara@eff.org

10
     MARIA DEL PILAR GONZALEZ MORALES (SBN 308550)
11   SHUBHRA SHIVPURI (SBN 295543)
     SOCIAL JUSTICE LEGAL FOUNDATION
12   523 West 6th Street, Suite 450
     Los Angeles, CA 90014
13   Tel.: (213) 973-4063
14   Email: pgonzalez@socialjusticelaw.org

15   Attorneys for Plaintiffs A.B.O. Comix, Kenneth Roberts, Zachary Greenberg, Ruben Gonzalez-
     Magallanes, Domingo Aguilar, Kevin Prasad, Malti Prasad, and Wumi Oladipo
16

17                      UNITED STATES DISTRICT COURT
18          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

19   A.B.O. Comix, Kenneth Roberts, Zachary               Case No.: 3:23-CV-1865-JSC
     Greenberg, Ruben Gonzalez-Magallanes,
20   Domingo Aguilar, Kevin Prasad, Malti Prasad,         STIPULATION RE PLAINTIFFS’
     and Wumi Oladipo,                                    DEADLINE TO FILE RESPONSE TO
21                                                        DEFENDANTS’ COUNTERCLAIMS
                           Plaintiffs,
22
                                                          Complaint Filed: March 9, 2023
23                  v.

24   County of San Mateo and Christina Corpus, in
     her official capacity as Sheriff of San Mateo
25   County,
26                         Defendants.
27

28
     STIP. RE PLS’ DEADLINE TO FILE                  1               Case No. 3:23-CV-1865-JSC
     RESP. TO DEFTS’ COUNTERCLAIMS
               Case 3:23-cv-01865-JSC Document 43 Filed 07/05/23 Page 2 of 3




 1           Plaintiffs A.B.O. Comix, Kenneth Roberts, Zachary Greenberg, Ruben Gonzalez-
 2   Magallanes, Domingo Aguilar, Kevin Prasad, Malti Prasad, and Wumi Oladipo, on one hand, and
 3   Defendants County of San Mateo and Christina Corpus, on the other hand, by and through their
 4   counsel of record, hereby stipulate to stay Plaintiffs’ time to respond to Defendants’ Counterclaims
 5   pending resolution of Plaintiffs’ Motion to Remand to State Court, ECF No. 28, and Defendants’
 6   Motion for Judgment on the Pleadings and Motion to Dismiss, ECF No. 39. Upon resolution of
 7   both motions—or if a remand order issues before Defendants’ motion is decided, upon issuance
 8   of that order—the parties agree to negotiate in good faith a new deadline for Plaintiffs’ response
 9   to Defendants’ Counterclaims and a reasonable briefing schedule for any pleadings motion by
10   either party. The parties further agree that, if the case is remanded, they will negotiate in good faith
11   a reasonable schedule for discovery and that no party will initiate discovery before the parties have
12   met and conferred.
13           IT IS SO STIPULATED.
14

15
                                                            Respectfully submitted,
16    DATED: July 5, 2023
17                                                        /s/ Cara Gagliano
                                                         Cara Gagliano (SBN 308639)
18                                                       Electronic Frontier Foundation
                                                         815 Eddy Street
19                                                       San Francisco, CA 94109
                                                         T: (415) 436-9333
20
                                                         cara@eff.org
21
                                                         Counsel for Plaintiffs
22

23                                                       Respectfully submitted,
      DATED: July 5, 2023
24
                                                          /s/ Chad E. DeVeaux
25                                                       Chad E. DeVeaux (SBN 215482)
                                                         Bartko Zankel Bunzel & Miller
26                                                       One Embarcadero Center, Suite 800
                                                         San Francisco, CA 94111
27                                                       T: (415) 956-1900
28
     STIP. RE PLS’ DEADLINE TO FILE                     2                     Case No. 3:23-CV-1865-JSC
     RESP. TO DEFTS’ COUNTERCLAIMS
               Case 3:23-cv-01865-JSC Document 43 Filed 07/05/23 Page 3 of 3




                                                      cdeveaux@bzbm.com
 1

 2                                                    Counsel for Defendants

 3
             I hereby attest that Chad E. DeVeaux has concurred in the filing of this document on his
 4   behalf and the inclusion of a conformed signature (/s/) within this e-filed document on his behalf.
 5
                                                          /s/ Cara Gagliano
 6                                                       Cara Gagliano

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIP. RE PLS’ DEADLINE TO FILE                  3                    Case No. 3:23-CV-1865-JSC
     RESP. TO DEFTS’ COUNTERCLAIMS
